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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.                                                  Criminal No. 21-0060 (CKK)
 JESUS RIVERA,

    Defendant.


                             PRETRIAL SCHEDULING ORDER
                                   (December 21, 2021)

         Having reviewed the parties’ [26] proposed scheduling order, the Court sets the following
tentative dates. At present, the Court is exploring the logistical efficacy of a March 14, 2022 trial
date. The District Court continues to operate with limited resources and additional safety
restrictions due to the ongoing COVID-19 pandemic. See generally In re Ltd. Resumption of
Criminal Jury Trials in Light of Current Circumstances Relating to the COVID-19 Pandemic,
Standing Order 21-62 (BAH) (D.D.C. Nov. 1, 2021). In relevant part, the District Court currently
requires at least six feet of distancing between potential jurors. At present, only the Ceremonial
Courtroom can accommodate cases requiring a special panel, i.e., sixty jurors. See id. at 6.
Although this case does not require a special panel, the Court remains concerned whether a normal
venire panel of only fifty potential jurors would suffice given the nature of this case. The Court
currently expects that, if a fifty-person panel would suffice and the Ceremonial Courtroom were
unavailable, it would conduct voir dire by seating twenty potential jurors in the undersigned’s
courtroom and the second thirty potential jurors in an overflow courtroom to participate by
videocast.

Discovery & Associated Deadlines
Government to complete any final discovery under present indictment          N/A
Aspirational date for grand jury decision re: superseding indictment         N/A
Government to complete discovery under any superseding indictment            N/A
Discovery motions (Fed. R. Crim. P. 16)                                      February 11, 2022

Expert Notices & Other Crimes Evidence
Government’s expert notice (FRE 701 & 702)                                   January 13, 2022
Defendant’s expert notice (FRE 701 & 702)                                    January 13, 2022
Government’s FRE 404(b) notice                                               January 13, 2022
Defendant’s response to FRE 404(b) notice                                    January 20, 2022
Brady notice                                                                 February 11, 2022

Experts
Expert reports (FRE 702)                                                     January 13, 2022

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Lay witness identification and subject matter (FRE 701)                     February 12, 2022

Non-Evidentiary Pretrial Motions
Defendant’s non-evidentiary pretrial motions,
such as motions challenging the indictment                                  December 28, 2021
       Government’s response to Defendant’s non-evidentiary motions         January 3, 2022
       Defendant’s reply as to non-evidentiary motions                      January 11, 2022
Government’s non-evidentiary pretrial motions                               December 28, 2021
       Defendant’s response to Government’s non-evidentiary motions         January 3, 2022
       Government’s reply as to non-evidentiary motions                     January 11, 2022

Evidentiary Pretrial Motions
Defendant’s evidentiary pretrial motions,
such as motions to suppress evidence, or Daubert                            January 17, 2022
       Government’s response to Defendant’s evidentiary motions             January 24, 2022
       Defendant’s reply as to evidentiary motions                          January 31, 2022
Government’s evidentiary pretrial motions,
such as Daubert and other crimes (404(b))                                   January 17, 2022
       Defendant’s response to Government’s evidentiary motions             January 24, 2022
       Government’s reply as to evidentiary motions                         January 31, 2022

Motions in Limine
Motions in limine by both sides                                             February 10, 2022
Responses to motions in limine                                              February 17, 2022
Replies as to motions in limine                                             February 21, 2022

Joint notice of stipulations                                                February 28, 2022

Giglio and Jencks material                                                  March 7, 2022

Voir Dire and Jury Instructions                                             March 7, 2022

Witness and Exhibit Lists
Government’s witness list, exhibit list and exhibits                        March 7, 2022
Defendant’s witness list, exhibit list and exhibits                         March 7, 2022

Pretrial hearings (to include resolutions of objections to evidence) shall take place as needed on a
series of dates to be discussed with the Court.

Trial is tentatively set to begin on March 14, 2022. The parties shall promptly notify the
Court if they want to change this date.

       SO ORDERED.
                                                              /s/
                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge

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